  Case 19-22390-CMB          Doc 91     Filed 07/16/20 Entered 07/16/20 14:36:23               Desc Main
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                                         PROCEEDING MEMO

Date: 07/16/2020 02:00 pm

In re:   Edward C. Leckey

                                                               Bankruptcy No. 19-22390-CMB
                                                               Chapter: 7
                                                               Doc. # 84

Telephonic Appearances: Ryan Cooney, Esq.
                          Jeffrey J. Sikirica, Esq.

Nature of Proceeding: #84 Rule to Show cause why sanctions should not be imposed
                 for failure to abide by Order dated 3/5/2020, including, but
                 not limited to, revocation of discharge. re doc. # 73 Motion to Compel

Additional Pleadings: #88 Motion to Reschedule hearing
                        #89 Order Granting Motion to Reschedule

Judge’s Notes:
- Mr. Leckey appeared at the court to participate; however, this is a telephonic hearing.
- Attorney Cooney spoke with Mr. Leckey and does not believe his presence is required.
- Attorney Sikirica advises that he has now received the information he needed and can withdraw his motion.


OUTCOME: Matter resolved. Motion withdrawn.




                                                                  Carlota M. Böhm
                                                                  Chief U.S. Bankruptcy Judge




              FILED
              7/16/20 2:34 pm
              CLERK
              U.S. BANKRUPTCY
              COURT - :'3$
